            Case 3:18-cr-00599-VC Document 169 Filed 02/22/22 Page 1 of 3



 1   GEOFFREY HANSEN
     Acting Federal Public Defender
 2   ELIZABETH M. FALK
     DANIEL P. BLANK
 3   Assistant Federal Public Defenders
     450 Golden Gate Avenue
 4
     San Francisco, California 94102
 5   Telephone: (415) 436-7700
     Facsimile: (415) 436-7706
 6   Email:       Daniel_Blank@fd.org

 7
     Counsel for Defendant VILLAGOMEZ
 8

 9
                            IN THE UNITED STATES DISTRICT COURT
10
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                   SAN FRANCISCO DIVISION
12

13
       UNITED STATES OF AMERICA,                Case No.: CR 18-0599 VC
14
                      Plaintiff,                DEFENDANT’S MOTION IN LIMINE
15                                              TO EXCLUDE RECORDED
              v.                                TELEPHONE CALLS
16
       ISAI VILLAGOMEZ,                         Court:   Hon. Vince Chhabria
17
                      Defendant.                Date:    March 7, 2022
18
                                                Time:    1:00 p.m.
19

20

21

22

23

24

25

26

27

28
             Case 3:18-cr-00599-VC Document 169 Filed 02/22/22 Page 2 of 3



 1                                             ARGUMENT
 2          The government has produced in discovery numerous recorded Spanish-language
 3   telephone calls, and proposed transcripts translating those calls into English. It appears to be
 4   the government’s theory that some or all of the calls are between Defendant Isai Villagomez
 5   and a confidential informant, who is now deceased. However, the voices on the calls
 6   themselves do not identify the names of the speakers and the transcripts simply refer to them as
 7   “Unidentified Male 1” and “Unidentified Male 2.” See, e.g., Bates AGOMEZ-RECORDINGS-
 8   000298 to AGOMEZ-RECORDINGS-000388; AGOMEZ-RECORDINGS-000411 to
 9   AGOMEZ-RECORDINGS-000457.1
10          Given that the deceased confidential informant is not available to identify at trial any of
11   the speakers on the recordings, and aver based upon personal knowledge that the recordings
12   have not been edited and instead truly and accurately reflect the actual phone conversations in
13   question, the government should be precluded from introducing them in its case in chief unless
14   it somehow otherwise lays a proper evidentiary foundation for their relevance, including
15   identification of the speaker(s), as well as authenticity and chain of custody of the recordings.2
16   Without such a proper foundation first demonstrating by “clear and convincing evidence” that
17   the recordings are “true, accurate and authentic,” and pertain to the instant case, they would be
18   irrelevant, and their admission unfairly prejudicial to Mr. Villagomez and confusing to the jury.
19   United States v. Cunningham, 462 F.3d 708, 713 (7th Cir. 2006) (“In admitting tape recordings,
20   ‘[t]he Government must prove, by clear and convincing evidence, that the proffered tape is a
21   true, accurate and authentic recording of the conversation between the parties.’”) (citation
22   omitted); see also United States v. Brooks, 508 F.3d 1205, 1211 (9th Cir. 2007) (citing
23

24

25   1
       Due to the volume of the government’s produced transcripts, and the narrowness of the legal
26   issues presented in this limine motion, the transcripts are not attached hereto. If the Court
     determines that seeing copies of the transcripts would nevertheless facilitate its ability to rule
27   on the motion, they can of course be provided.
     2
       This could well be an unsurmountable problem for the government, given the extraordinarily
28   hands-off approach of the confidential informant’s handler, Special Agent Harland Espinoza.
     See Declaration of Special Agent Harland Espinoza (Docket #161-1) (filed Feb. 11, 2022).

                                                     1
             Case 3:18-cr-00599-VC Document 169 Filed 02/22/22 Page 3 of 3



 1   Cunningham). As such, the recorded calls would have to be excluded under Federal Rules of
 2   Evidence 401-403 and 901.
 3          In addition, even if a proper foundation can be laid for the relevance of the calls
 4   discussed above, they are presumptively hearsay if offered for the truth of the matter asserted.
 5   In particular, while a proper foundation that a speaker is Mr. Villagomez would obviously
 6   make his recorded statements admissible non-hearsay under Federal Rule of Evidence
 7   801(d)(2)(A), no such exception would apply to the recorded statements of anyone else,
 8   including the deceased confidential informant. Those recorded statements would therefore be
 9   inadmissible under Federal Rule of Evidence 802. Accordingly, the government should also be
10   required to make an offer of proof outside the presence of the jury regarding any exception to
11   the hearsay rule before evidence of the recorded calls may be admitted at trial.
12                                           CONCLUSION
13          For the aforementioned reasons, the Court should exclude all recorded calls from trial
14   unless and until the government make an offer of proof outside the presence of the jury
15   demonstrating their admissibility, including both relevance and authenticity, as well as a valid
16   exception to the hearsay rule.
17

18                                                        Respectfully submitted,

19            Dated: February 22, 2022                    GEOFFREY HANSEN
                                                          Acting Federal Public Defender
20                                                        Northern District of California
21                                                                  /S
                                                          DANIEL P. BLANK
22
                                                          Assistant Federal Public Defender
23

24

25

26

27

28


                                                    2
